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AO 199A (Rev. 12/11- EDCA [Fresno]) Order Setting Conditions of Release
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                                      UNITED STATES DISTRICT COURT
                                                                          for the
                                                 Eastern District of California                                   FILED
                                                                                                                 May 10, 2022
                                                                                                              CLERK, U.S. DISTRICT COURT

UNITED STATES OF AMERICA,
                                                                                                            EASTERN DISTRICT OF CALIFORNIA

                                                                          )
                              v.                                          )
                                                                          )             Case No.      1:22-cr-00112-DAD-BAM
MALIK DAVIS,                                                              )


                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
    the court may impose.

      The defendant must appear at:             U.S. DISTRICT COURT, 2500 Tulare Street, Fresno, California
                                                                                              Place

      U.S. MAGISTRATE JUDGE Barbara A. McAuliffe in Courtroom 8 (unless another courtroom is designated)

      on                                                    JUNE 8, 2022, at 1:00 PM
                                                                              Date and Time


      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance and Compliance Bond, if ordered.




(Copies to:       Defendant (through Pretrial)               PRETRIAL SERVICES                 US ATTORNEY         US MARSHAL)
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                             ADDITIONAL CONDITIONS OF RELEASE
Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other
persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

      (6)       The defendant is placed in the custody of:

                   Name of person or organization

         who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort to assure the appearance of the
         defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of
         release or disappears.

                   SIGNED: ________________________________
                                     CUSTODIAN
      (7)       The defendant must:
                (a) report on a regular basis to the following agency:
                     Pretrial Services and comply with their rules and regulations;
                (b) report as directed to the Pretrial Services Agency immediately following your release from custody;
                (c) reside at a location approved by the pretrial services officer, and not move or be absent from this residence for
                     more than 24 hrs. without prior approval of pretrial services officer;
                (d) travel restricted to the Eastern District of California, unless otherwise approved in advance by pretrial services
                     officer;
                (e) report any contact with law enforcement to your pretrial services officer within 24 hours;
                (f) cooperate in the collection of a DNA sample;
                (g) not associate or have any contact with your co-defendants or any known gang members unless in the presence of
                     counsel;
                (h) maintain or actively seek employment, and provide proof thereof to the pretrial services officer, upon request;
                (i) not possess, have in your residence, or have access to a firearm/ammunition, destructive device, or other
                     dangerous weapon; additionally, you must provide written proof of divestment of all firearms/ammunition,
                     currently under your control;
                (j) submit to drug and/or alcohol testing as approved by the pretrial services officer. You must pay all or part of the
                     costs of the testing services based upon your ability to pay, as determined by the Pretrial Services Officer;
                (k) refrain from any use of alcohol, or any use of a narcotic drug or other controlled substance without a prescription
                     by a licensed medical practitioner; and you must notify Pretrial Services immediately of any prescribed
                     medication(s). However, medical marijuana, prescribed and/or recommended, may not be used;
                (l) participate in a program of medical or psychiatric treatment including treatment for drug or alcohol dependency,
                     as approved by the pretrial services officer; you must pay all or part of the costs of the counseling services based
                     upon your ability to pay, as determined by the pretrial services officer;
                (m) not apply for or obtain a passport or any other traveling documents during the pendency of this case;
                (n) execute a bond or an agreement to forfeit upon failing to appear or failure to abide by any of the conditions of
                     release, the following sum of money or designated property: A $1,000 cash bond posted by the defendant’s
                     girlfriend;
                (o) participate in the following Location Monitoring program component and abide by all the requirements of the
                     program, which will include having a location monitoring unit installed in your residence and a radio frequency
                     transmitter device attached to your person. You must comply with all instructions for the use and operation of
                     said devices as given to you by the Pretrial Services Agency and employees of the monitoring company. You
                     must pay all or part of the costs of the program based upon your ability to pay as determined by the pretrial
                     services officer. CURFEW: You are restricted to your residence every day from 8:30 p.m. to 5:00 a.m., or as
                     adjusted by the Pretrial Services office or supervising officer, for medical, religious services, employment or
                     court-ordered obligations; and,

                 USMS SPECIAL INSTRUCTIONS:
                (p)   have your release on bond delayed until the first working day at 9:00 a.m., following the posting of the cash bond
                       and you must report immediately to the Pretrial Services Office for the installation of the location monitoring
                       equipment.
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                                                               3        3

               MALIK DAVIS




X



    5/10/22

                              BARBARA A. McAULIFFE, U.S. MAGISTRATE JUDGE
